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                         IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                CRIMINAL NO.

                                                        DATE FILED:

THOMASTEDROW                                            VIOLATIONS:
                                                        t8 U.S.C. $ 371 (conspiracy to commit
                                                        securities fraud and wire fraud - I count)
                                                        ls U.S.C. $S 78j(b) & 78ff and 17 C.F.R.
                                                        $ 240.f0b-5  (securities fraud - 1
                                                        count)
                                                        l8 U.S.C. $ 1343 (wire fraud - I count)
                                                        t8 U.S.C. $ 2 (aiding and abetting)
                                                        Notice of forfeiture




                                       INFORMATION
                                             COUNT ONE

THE UNITED STATES ATTORNEY CHARGES THAT:

                                   Relevant Individ uals and Entities

                 At all times material to this lnformation:

                 l.     Defendant TIIOMAS TEDROW C'TEDROW") was a resident of Winter

Park, Florida.

                 2.     First Power and Light LLC C'FPL") was a Delaware limited liability

company with its principal place ofbusiness in Bridgeport, Pennsylvania. FPL was formed in

approximately July 2012. Person      #l   was the nominal president   ofFPL. FPL was a solar

installation and sales company. In or about April 2015, FPL changed its name to Volt Solar

LLC, incorporated in Maryland with an address maintained in Bridgeport, Pennsylvania.
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               3.      First Power and Light Inc. ("FPL Inc.") was incorporated in the State of

Florida on or about July 1,2013. FPL lnc. had an office in Bridgeport, Pennsylvania. Person      #l

was the nominal president of FPL   Inc. Unlike FPL, FPL Inc. was a solar power company in

name only, with no active business or contracts.

               4.      Jerome Wenger ("Wenger"), charged elsewhere, exercised control over

FPL and FPL Inc.

               5.      Kona Jones Barbera ("Barbera"), charged elsewhere, was a stock promoter

and a resident ofHendersonville, North Carolina, and Locust Valley, New        York. Barber4 who

was not a licensed Financial Industry Regulatory Authority       ("FINRA") invesfinent broker,

promoted penny stock companies using various business names under his control, including

Quantum Financial Investrnents C'QF$, in which Barbera was a co-owner.

               6.      Person #2 was a co-owner        ofQFI   and a resident of Thomwood, New

York, and Boca Raton, Florid4 who worked at QFI in Glen Cove, New York, promoting stocks.

Person #2 was not a licensed FINRA investment broker.

               7   .   Neoterra Enterprises, LLC ("Neoterra') was a New York limited liability

company with its principal place of business in Woodstock, New Jersey. Neoterra was formed in

2010. Barbera was the principal ofNeoterra. Neoterra had no known legitimate business

purpose.

               8.      J.E. Consulting Corp. ("J.E. Consulting") was a New York corporation

with its principal place of business in Thomwood, New York. J.E. Consulting was formed in

2012. Person #2 was the principal of J.E. Consulting. J.E. Consulting had no known legitimate

business purpose.


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                  9.     Person #3 and Person #4 together owned and operated Program Funding

Advisors LLC ("PFA"), a Delaware limited liability company with its principal place of business

 in Old Brookville, New York. PFA was formed in approximately January 2012. Person #5, the

 spouse of Person #4, was the president     of PFA. PFA was in the business of advising businesses

on how to promote stock.

                  10.    Mainstream Entertainment Inc. ("MSEI") was a Florida corporation with

its principal place of business in Orlando, Florida. MSEI was formed in approximately June

2008. MSEI is now known       as   Volt Solar Systems, Inc.

                  11.    Resort Savers, Inc. ("Resort Savers") was a Nevada corporation with

reported business locations in the State of Washington and the People's Republic of China.

                     The Federal Securities Laws         SEC Rules and Resulations

                  12.    Initially, the shares of MSEI were "restricted" pursuant to statute and rules

and regulations promulgated by the Securities and Exchange Commission C'SEC"). The SEC

was an independent agency     ofthe United States govemment charged by law with preserving

honest and effrcient markets in securities. The federal securities laws, regulations, and rules were

designed to ensure that the financial information    ofpublicly traded companies was accurately

recorded and disclosed to the investing public.

                  13.    The MSEI shares were restricted in the sense that they could not be resold

in the public market. Restricted securities are, generally, securities acquired in unregistered,

private sales. Ifone wishes to sell restricted securities to the public, certain conditions must,

generally, be met, including havhg current information about the issuing company available to

the   public. ln order to have the restriction removed, Wenger enlisted the services of Person #6, a


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lawyer, who agreed to issue a false opinion letter to the effect that certain conditions had been

satisfied for the removal ofthe restriction.

                                           The Conspiracy

                 14.    From at least in or about April 2012, through at least in or about

 September 20 t 6, in the Eastem District of Pennsylvania and elsewhere, defendant

                                       THOMASTEDROW

together and with others known and unknown to the United States, conspired to commit offenses

against the United States, namely:

                (a) securities fraud, that is, unlawfully, wiflfinly, and knowingly, directly and

                    indirectly, by use of the means and instrumentalities of interstate commerce,

                    and the facilities of national securities exchanges, to employ manipulative and

                    deceptive devices and contrivances, in violation of Title 17, Code of Federal

                    Regulations, Section 240.10b-5, by: (i) employing devices, schemes and

                    artifices to defoaud; (ii) making untrue statements of material facts and

                    omitting to state material facts necessary in order to make the statements

                    made, in the light of the circumstances under which they were made, not

                    misleading; and (iii) engaging in acts, practices and courses of business which

                    operated and would operate as a fraud and deceit upon any person,     in

                    connection with the purchase and sale ofa security, in violation of Title 15,

                    United States Code, Sections 78j(b) and 78fl and Title 17, Code of Federal

                    Regulations, Section 240. 10b-5; and




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                 (b) wire fraud, that is, knowingly and with intent to defraud, to devise, and to

                     intend to devise a scheme and artifice to defraud, and to obtain money and

                     property by means of materially false and fraudulent pretenses,

                     representations, and promises, and to transmit and to cause certain wfue

                     communications to be transmitted in interstate and foreign commerce, for the

                     purpose ofexecuting the scheme and artifice, in violation of   Title   18, United

                     States Code, Section 1343.

                                       PurDose   ofthe ConsDrracv

                  15.    The purpose   ofthe conspiracy was to defraud investors by selling them

shares in   MSEI and Resort Savers at artificially inflated prices.

                                          Manner and Means

                  16.    In or about 2012, defendant THOMAS TEDROW introduced Wenger to

Person #7, a self-proclaimed reverse merger      guru. Person #7 was interested in selling MSEI, a

company that was owned by Person #7's son, Person #8. On or about September 20, 2012, FPL

executed a stock purchase agreement, whereby        it became the majority shareholder of MSEI for

$50,000. Related to this transaction, Wenger also received 50 million shares of MSEL

                  17.    Thereafter, Wenger distributed the 50 million shares of MSEI. Among

other things, Wenger distributed 35 million shares to his girlfriend, Person #9, so that he could

maintain control over the company. Wenger also distributed 7.5 million shares to defendant

THOMAS TEDROW and defendant TEDROW's two sons, Christian Tedrow, charged

elsewhere, and Tyler Tedrow, charged elsewhere. The remaining 7.5        million   shares were




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distributed by Wenger to his associates and to employees ofhis companies, including Person #10

and Person #11.

               18.     After Wenger distributed the 50 million shares of MSEI and had the

restriction lifted, he directed certain of the shareholders (to whom he had distributed the shares)

to engage in the trading oftheir shares in the public market for the purpose of "pumping" the

price ofthe stock ofMSEI. The conspirators used manipulative stock trading techniques to

fraudulently inflate the price of MSEI stock.

               19.     Wenger also enlisted the services of Person #3 and Person #4, as well as

their company, PFA, to promote the stock. PFA, Person #3, and Person #4, in turn, directed

Barbera and Person #2 to operate what is known as a "boiler room," in which, among other

things, Barbera, Person #2, and other co-conspirators, known and unknown to the United States,

cold-called potential investors, for the purpose of getting them to buy shares of MSEI. Among

other things, Barbera and Person #2 received undisclosed commissions for selling shares      of

MSEI, which they directed to be paid to QFI, Neotena, and J.E. Consulting.

               20.     Defendant THOMAS TEDROW and Wenger directed the drafting of false

and fraudulent press releases and other communications relating to MSEI and its parent

company, FPL, for the purpose of convincing the investing public that FPL and MSEI had more

business and were more valuable than they, in fact, were, and to inflate the price   ofthe stock of

MSEL In addition, defendant THOMAS TEDROW, Tyler Tedrow, and Christian Tedrow

created and disseminated false and fraudulent press releases and prepared and disseminated a

Form 8-K securities disclosure filed with the SEC on or about February 8, 2013, all as part ofthe

conspiracy to fraudulently inflate the price of the common stock of MSEI.


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                   21.    Once the stock price of MSEI had been inflated        or'pumped," Wenger

instnrcted others to sell their shares ofstock of MSEI, allowing them to keep a portion ofthe

illicit   proceeds for themselves, while transferring the remaining   illicit   proceeds to Wenger and

his companies, all at Wenger's direction.

                   22.    In addition, defendant THOMAS TEDROW and his sons, Tyler Tedrow

and Christian Tedrow, sold their shares of MSEI, whether individually or through Sterling LLC,

now known as Waterford Sterling LLC ("Sterling"), a limited liability company controlled by

defendant THOMAS TEDROW and Tyler Tedrow.

                  23.     In all, defendant THOMAS TEDROW received approximately $160,957

in illicit proceeds (at least some of which were obtained through Sterling) from sales of MSEI

stock.

                  24.     [n or around May 2014, defendant THOMAS TEDROW met with Person

#7, and Person #7 asked defendant TEDROW to provide a fraudulent marketing package for

Resort Savers, in exchange for money to be paid to defendant TEDROW. Defendant TEDROW

agreed and received approximately $5,250.

                                              Overt Acts

                  In furtherance ofthe conspiracy and to accomplish its objects, defendant

THOMAS TEDROW, Wenger, Person #3, Person #4, Person #7, and others known and

unknown to the United States committed the following overt acts, among others, in the Eastem

District of Pennsylvania and elsewhere:

                   1.     On or about Novembet 23,2012, defendant THOMAS TEDROW sent an

e-mail message discussing steps to be taken with respect to the manipulation of MSEI securities.


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               2.     On or about November 30, 2012, defendant THOMAS TEDROW sent an

e-mail message discussing steps to be taken to conceal, with respect to MSEI, the involvement   of

individuals subject to industry disbarments.

               3.     On or about March    17   ,2014, defendant THOMAS TEDROW sent an e-

mail message to Wenger regarding a potential audit.

               4.     In or about May 2014, defendant THOMAS TEDROW met with Person

#7 regarding Resort Savers.

               In violation of Title 18, United States Code, Section 371.




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                                          COUNTTWO

THE T]NITED STATES ATTORNEY FURTHER CHARGES THAT:

               l.      Paragraphs   l-13 and 16-24 and   the Overt Acts of Count One of this

Information are realleged and incorporated by reference as though fully set forth herein.

               2.       From at least in or about April 2012, through at least in or about

September 2016, in the Eastem District of Pennsylvania and elsewhere, defendant

                                      THOMASTEDROW

did unla*ftlly, willfully, and knowingly, directly and indirectly, by use of the means and

instrumentalities of interstate commerce, and the facilities of national securities exchanges,

employ manipulative and deceptive devices and contrivances, in violation of Title 17, Code       of

Federal Regulations, Section 240.10b-5, by: (i) employing devices, schemes and artifices to

defraud; (ii) making untrue statements of material facts and omitting to state material facts

necessary in order to make the statements made, in the light of the circumstances under which

they were made, not misleading; and (iii) engaging in acts, practices and courses of business

which operated and would operate as a fraud and deceit upon any person, in connection with the

purchase and sale of a security.

               In violation of Title 15, United States Code, Sections 78j(b) and 78ff, and Title

17, Code of Federal Regulations, Section 240.10b-5.




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                                          COUNTTHREE

THE TJIIIITED STATES ATTORNEY FURTHER CIIARGES THAT:

                  l.     Paragraphs   l-13 and 16-24      and the Overt Acts of Count One   ofthis

lnformation are realleged and incorporated by reference as though fully set forth herein.

                                                The Scheme

                  2.     From at least in or about April 2012, through at least in or about

September 201 6, defendant

                                        THOMASTEDROW

devised and intended to devise a scheme to defraud investors in Mainsneam Entertainment, Inc.,

n/lc/a   Volt Solar Systems, Inc., and Resort Savers, Inc., and to obtain money and property by

means of false and fraudulent pretenses, representations, and promises.

                                          Manner and Means

                  3.     The United States realleges and incorporates by reference Paragraphs 16

through 24 of Count One of this Information as a description of the manner and means of the

scheme.

                                                 The Wire

                  4.     On or about May   17   ,2014, in the Eastem District of Pennsylvania and

elsewhere, defendant

                                        THOMASTEDROW

for the purpose of executing the scheme described above, and aiding and abetting its execution,

caused to be transmitted by means of wire communication          in interstate conrmerce the signals and




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sounds, to   wit an interstate wire e-mail from defendant THOMAS TEDROW (in the State of

Florida) to Wenger (in the Eastem District ofPennsylvania) regarding a potential audit

                In violation of Title 18, United States Code, Sections 1343 and2.




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                                        NOTICE OF FORFEITURE

TIIE I,iNITED STATES ATTORNEY FURTHER CHARGES THAT:

                l.        As a result ofthe violations ofTitle 18, United States Code, Sections 371

and 1343, and Title 15, United States Code, Sections 78j(b) and 78tr, defendant

                                            THOMASTEDROW

shall forfeit to the United States of America any property that constitutes, or is derived from,

proceeds traceable to the commission ofsuch offenses, including, but not limited to, the sum                    of

approximately   $   I 66,207   .



                2.        If any of the property subject to forfeiture,    as a result   of any act or

omission of the defendant:

                          (a)       cannot be located upon the exercise ofdue diligence;

                          O)        has been transferred or sold to, or deposited    with,   a   third party;

                          (c)       has been placed beyond the      jurisdiction of the Court;

                          (d)       has been substantially diminished in value;     or

                          (e)       has been commingled        with other property which cannot be divided

                                    without diffrculty;

it is the intent ofthe United      States, pursuant to   Title 28, United States Code, Section 2461(c),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendant up to the value of the property subject to forfeiture.




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                     Pursuant to Title 28, United States Code, Section 2461(c) and   Title   18, United


       States Code, Section   981(aXlXC).




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                  M. McSWAIN
       TII\IITED STATES ATTORNEY




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